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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

____________________________________
                                    )                Chapter 11
In re:                              )
                                    )                Case No. 23-10207 (TMH)
STANADYNE L.L.C., et al.            )
                                    )                (Jointly Administered)
                  Debtors.          )
                                    )                August 17, 2023
                                    )
                                    )                Hearing Scheduled August 22, 2023
____________________________________)                11 a.m.


      OBJECTION OF THE CONNECTICUT DEPARTMENT OF ENERGY AND
                  ENVIRONMENTAL PROTECTION TO
       DEBTORS’ MOTION FOR ENTRY OF ORDER (I) AUTHORIZING THE
DEBTORS TO ABANDON OR, ALTERNATIVELY SELL THE WINDSOR PROPERTY
            AND (II) FOR RELATED RELIEF (DOCKET NO. 486)

       The Connecticut Department of Energy and Environmental Protection (the

“Department”) objects to the motion and the proposed order of the Debtors to abandon the

property at 90-92 Deerfield Road, Windsor, Connecticut (the “Windsor Property”). The

Department does not object to the potential sale of the Windsor Property, provided that the

purchaser agrees to assume and comply with the current environmental obligations associated

with the Windsor Property.

       The proposed order authorizing abandonment provides that “the Debtors shall not be

liable for any obligations arising out of or related to the Windsor Property after such time.” Such

an abandonment is improper under 11 U.S.C. § 554(a) because, contrary to Connecticut statutes

prohibiting soil and water pollution, the proposed abandonment fails to provide at all for the

prevention of the discharge of hazardous waste from an impoundment on the Windsor Property,

and fails to provide for the fulfillment of related regulatory requirements. These requirements
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include the preparation and filing on the Windsor land records of an Environmental Land Use

Restriction, and the establishment of a mechanism for financial assurance to provide for the

maintenance, inspection, monitoring, and, if necessary, repair of the impoundment in the future.

         In support of this objection, the Department respectfully represents as follows:

         1.       Stanadyne, Inc. (“Stanadyne”) operated a diesel engine parts manufacturing

business at the Windsor Property, employing twenty-four metal parts cleaning units, fifteen rust

prevention dip tanks, and hand-wiping to degrease metal components.

         2.       As a consequence of its operations, Stanadyne was subject to the Resource

Conservation and Recovery Act (“RCRA”), 42 U.S.C. §6901 et seq. The State of Connecticut

has been authorized by the United States Environmental Protection Agency (the “EPA”) to

implement RCRA in Connecticut since April 1992. See 55 Fed. Reg. 51,707 (Dec. 17, 1990).

         3.       In August 1980, Stanadyne notified the EPA of its intention to manage hazardous

waste at the Windsor Property as a Large Quantity Generator (generating 1,000 kilograms (“kg”)

per month or more of hazardous waste or more than one kg per month of acutely hazardous

waste). 1 Stanadyne subsequently notified the EPA of its status as a Small Quantity Generator

(generating more than 100 kg but less than 1,000 kg of hazardous waste per month) in March

2013.




1
  Identified hazardous waste streams in the initial notification were: spent halogenated solvents; spent non-
halogenated solvents; wastewater treatment sludges from electroplating operations; spent cyanide plating bath
solutions; plating bath residues; spent stripping and cleaning bath solutions; quenching bath residues from oil baths
from metal heat treating operations; spent cyanide solutions from slat bath pot cleaning; quenching wastewater
treatment sludges from metal heat treating operations; copper cyanide; cyanides (soluble cyanide salts); cyanogen;
potassium cyanide; sodium cyanide; 2-propanone; methanol; and methyl chloroform. In February 2002, Stanadyne
identified additional hazardous waste streams: ignitable; corrosive; reactive; cadmium, chromium; lead; mercury;
selenium; silver; benzene; chloroform; methyl ethyl ketone; tetrachloroethylene, and trichlorethylene.


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           4.      On September 4, 1987, the Department of Environmental Protection 2 issued

Order No. WC4567 to Stanadyne, the then-owner of the Windsor Property. Expressing the

finding “that Stanadyne, Inc. is maintaining a facility or condition which reasonably can be

expected to cause pollution of the waters of the state,” the order directed Stanadyne to “[i]nstall

wastewater treatment system improvements and/or process modifications to the metal finishing

operations” and to “[i]nvestigate the extent and degree of groundwater, surface water and soil

contamination resulting from chemical storage, handling and disposal activities at [the Windsor

Property] and take necessary remedial actions to minimize or eliminate the contamination.”

           5.      In June 1995, the Department of Environmental Protection and Stanadyne

Automotive Corporation (“Stanadyne Automotive”), the successor-in-interest to Stanadyne,

entered into Consent Order HM-786. The Consent Order acknowledged that Stanadyne

Automotive certified on February 8, 1989 pursuant to the Connecticut’s Transfer Act, CONN.

GEN. STAT. § 22a-134 et seq., “that, to the extent necessary to minimize or mitigate a threat to

human health or the environment, [Stanadyne Automotive] would contain, remove, or otherwise

mitigate the effects of any discharge or spillage of hazardous waste” on the Windsor Property.

In addition, the Consent Order noted that Stanadyne Automotive conducted an investigation that

revealed that the groundwater at the Windsor Property was contaminated by tetrachloroethane;

trichloroethene; 1,1,1 trichloroethane; and cis-1,2 dichloroethane. The Consent Order required

further investigation of contamination, “the expeditious removal and disposal of all wastes,”

compliance with Order No. WC4567, and correction of thirty-two violations.

           6.      Based on subsequent investigation and reporting, the Department concluded that

approximately 11,500 cubic yards of the soil of the Windsor Property, located in five distinct



2
    Before July 1, 2011, the Department was known as the Department of Environmental Protection.

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release areas, was contaminated with volatile organic compounds (VOC), polycyclic aromatic

hydrocarbons (PAH), extractable total petroleum hydrocarbons (ETPH), and metals above the

applicable Industrial/Commercial Direct Exposure Criteria and/or GA Groundwater Class

Pollutant Mobility Criteria. See CONN. AGENCIES REGS. § 22a-133k-1 et seq.

        7.      Rather than requiring removal of the contaminated soil, the Department approved

the construction and maintenance of an Engineered Control, at which the contaminated soil

would be consolidated into a single location. The Department’s approval was founded, at least

in part, on the economic efficiency of the cost of constructing the Engineered Control (estimated

to be $210,750) compared with cost of excavating, characterizing, transporting, and disposing of

the contaminated soil and backfilling with clean fill (estimated to be $1,666,500).

        8.      The Engineered Control as constructed consists of subsurface containment of the

contaminated soil, overlain by, from the ground surface: an impermeable barrier, at least six

inches of sand, a brightly colored demarcation layer, at least fourteen inches of clean fill, topped

by four inches of vegetated topsoil. Maintenance and monitoring of the Engineered Control

includes bi-weekly mowing during the growing season, visual inspections to confirm stability

conducted quarterly and following precipitation events of over one inch, and the annual sampling

of two monitoring wells for VOC, PAH, ETPH, and metals.

        9.      A long-term financial assurance mechanism is required to permit the Department

to implement maintenance, inspection, and monitoring activities on behalf of the Debtors should

they fail to fulfill their obligations.




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                                                ARGUMENT

           It is well settled that a trustee or a debtor-in-possession “may not abandon property in

contravention of a state statute or regulation that is reasonably designed to protect the public

health or safety from identified hazards.” Midlantic Nat’l Bank v. New Jersey Dep't of Envtl.

Protection, 474 U.S. 494, 507 (1986).

           The Connecticut General Assembly has found “that improper management of hazardous

wastes has contaminated the water, soil and air of the state thereby threatening the health and

safety of Connecticut citizens.” CONN. GEN. STAT. § 22a-144. The General Assembly has

further “found and declared that the pollution of the waters of the state is inimical to the public

health, safety and welfare of the inhabitants of the state [and] is a public nuisance.” CONN. GEN.

STAT. § 22a-422. Section 22a-427 of the General Statutes provides “[n]o person . . . shall cause

pollution of any of the waters of the state.” Section 22a-430 of the General States says, in part,

“No person 3 . . . shall initiate, create, originate or maintain any discharge of water, substance or

material into the waters of the state without a permit . . . issued by the commissioner.”

           Clearly, these statutes are “designed to protect the public health or safety from identified

hazards.” See Midlantic, 474 U.S. at 507. Therefore, as in Midlantic, the condition of the

Windsor Property is such that abandonment without precautions simply cannot be permitted. In

Midlantic, the debtor operated as a waste oil processor, and had accepted tens of thousands of

gallons of toxic PCB-laden waste oil at its facilities in New York and New Jersey, which were

housed in deteriorating and leaking containers. Although the New Jersey bankruptcy court

approved the abandonment of both sites, the Third Circuit Court of Appeals reversed and the

Supreme Court affirmed, noting that “the trustee's abandonment at both sites aggravated already



3
    “Person” is defined to encompass corporate entities. CONN. GEN. STAT. § 22a-423.

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existing dangers by halting security measures that prevented public entry, vandalism, and fire.”

Id. at 499 n.3.

        Although the conditions at the Windsor Property are not as clearly threatening as at the

sites in Midlantic, under the authority of Midlantic and the cases that follow it, the Debtors

cannot be permitted to abandon the Windsor Property without fulfilling their obligations under

Connecticut environmental law. Environmental compliance obligations, implemented through

the Transfer Act and the statutes and regulations prohibiting soil and water contamination

pursuant to Connecticut’s sovereign authority, are designed to protect public health or safety

from identified hazards, such as the thousands of cubic yards of contaminated soil located at the

Windsor Property.

        Under Midlantic, abandonment must be denied unless and until the Debtor complies with

conditions necessary to adequately protect public health and safety, such as the maintenance of

the Engineered Control and the establishment of financial assurance here. See id. at 506-07.

Failure to require such compliance as a condition of abandonment may result in an unpermitted

discharge to the soil and waters of the state, in violation of Connecticut law. As the Debtors seek

court permission to abandon the Windsor Property without ensuring adequate protection of

public health and safety, the Department objects to their motion and asks the court to sustain the

Department’s objection.




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                           Respectfully submitted,

                           CONNECTICUT DEPARTMENT OF
                           ENERGY AND ENVIRONMENTAL
                           PROTECTION

                    By:    WILLIAM TONG
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                                    CERTIFICATE OF SERVICE

       This is to certify that the Objection of the Connecticut Department of Energy and

Environmental Protection to Debtors’ Motion for Entry of Order (I) Authorizing the Debtors to

Abandon or, Alternatively Sell the Windsor Property and (II) for Related Relief (Docket No.

486) was electronically filed on August 17, 2023, and will be sent via e-mail to all appearing

parties by operation of the Court’s electronic filing system. In addition, on August 17, 2023, the

undersigned caused to be sent by first-class mail, postage prepaid, a copy of the foregoing

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